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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MINNESOTA

In re:

         TRACY A. HAZELTON,                                 Case No.: 17-60631
         NATALIE L. HAZELTON,                               Chapter 7
                            Debtors.


                                             ORDER

       This matter came before the court upon the motion of David G. Velde, Trustee, Based
upon the record arising from said motion,

         IT IS ORDERED THAT:

         1.    The Trustee’s Notice is approved.

         2.    The Trustee will settle the bankruptcy estate’s interest in an alleged preference to
               Citibank, N.A., in the amount of $1,597.16 for a payment of $1,000.00 from
               Citibank, N.A.

         3.    Such further relief as the court deems just and equitable.


December 11, 2019                                    /e/ Michael E. Ridgway
                                                     ____________________________________
                                                     Michael E. Ridgway
                                                     Chief United States Bankruptcy Judge



                                                                    NOTICE OF ELECTRONIC ENTRY AND
                                                                    FILING ORDER OR JUDGMENT
                                                                    Filed and Docket Entry made on 12/11/2019
                                                                    Lori Vosejpka, Clerk, by AMM
